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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                   ROANOKE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )     Criminal Action No. 7:19-cr-00081
    v.                                             )
                                                   )     By: Elizabeth K. Dillon
ANTHONY BRIAN BARNETT                              )         United States District Judge
AMINEE JEWEL DAVENPORT                             )

                                               ORDER

         The defendant, Aminee Jewel Davenport, by counsel, has moved for a continuance of the

trial scheduled in this case, and the co-defendant and the United States do not object. For the

reasons stated in the motion, the court finds good cause to grant the motion. Specifically, a

continuance will allow the defendant additional time to review voluminous discovery in

preparation for trial.

         The court further finds that the ends of justice served by the granting of the continuance

outweigh the best interest of the public and defendant in a speedy trial, pursuant to 18 U.S.C.

§ 3161(h)(7)(A) of the Speedy Trial Act.

         Accordingly, it is hereby ORDERED that defendant’s motion for a continuance is

GRANTED and that this matter, now scheduled for trial on April 7–9, 2021, is continued to June

1, 2021. The time period between April 7, 2021, and June 1, 2021, will be excluded from the

calculation of time under the Speedy Trial Act.

         The clerk is directed to send a copy of this order to all counsel of record.

         Entered: April 6, 2021.



                                                        /s/ Elizabeth K. Dillon
                                                        Elizabeth K. Dillon
                                                        United States District Judge
